 The People of the State of Colorado, Plaintiff-Appellee,  v.  Andrew Charles Nardello, Defendant-Appellant. No. 20CA1349Court of Appeals of Colorado, Seventh DivisionNovember 24, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
               
      Larimer County District Court No. 09CR1781 Honorable Juan G.
      Villasenor, Judge.
    
    
               
      OPINION
    
    
                PAWAR
      JUDGE.
    
    
               ORDER
      AFFIRMED.
    
    
               
      Navarro and Grove, JJ., concur.
    
    
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